Case 6:08-cr-00228-JA-LHP Document 52 Filed 12/11/08 Page 1 of 4 PageID 145




                                  UNITED STATES DISTRICT COURT
                                   MIDDLE DISTRICT OF FLORIDA
                                        ORLANDO DIVISION

  UNITED STATES OF AMERICA

  -vs-                                                            Case No. 6:08-cr-228-Orl-22KRS

  YAHAIRA CORDERO-GONZALEZ
  ___________________________________

                                  REPORT AND RECOMMENDATION

  TO THE UNITED STATES DISTRICT COURT

            This cause came on for consideration without oral argument on the following motion filed

  herein:

               MOTION:         DEFENDANT CORDER-GONZALEZ’S MOTION TO
                               DISMISS INDICTMENT AND ALTERNATIVE
                               REQUEST FOR BILL OF PARTICULARS (Doc. No. 34)

               FILED:      November 21, 2008
               _____________________________________________________________

               THEREON it is RECOMMENDED that the motion be DENIED.

            Defendant Cordero-Gonzalez is charged in a one-count Indictment with conspiring to possess

  with intent to distribute and to distribute a mixture and substance containing a detectable amount of

  cocaine hydrochloride in the amount of five kilograms or more. The conspiracy is alleged to have

  occurred beginning on an unknown date, but no later than November 2005, through June 12, 2007,

  in various counties in Florida, in the Commonwealth of Puerto Rico and elsewhere in violation of 21

  U.S.C. § 846. Doc. No. 3. The Defendant contends that the Indictment is “generally vague, overly

  broad and lacks any specificity.” Doc. No. 34 ¶ 2. Accordingly, he seeks dismissal of the Indictment

  or, alternatively, a bill of particulars.
Case 6:08-cr-00228-JA-LHP Document 52 Filed 12/11/08 Page 2 of 4 PageID 146




         The United States responds that the Indictment is sufficient because it states all of the elements

  of the offense charged. It further submits that it has provided counsel for the Defendant with

  extensive discovery of the facts underlying the charge, including every DEA Form 6 report of

  investigation, audio recordings and transcripts of recordings obtained through two Title III wiretaps.

  Doc. No. 35.

         The United States Court of Appeals for the Eleventh Circuit has addressed the constitutional

  requirements for an indictment charging a drug conspiracy as follows:

                 We begin by observing that an indictment will pass constitutional
                 muster:

                         if it, first, contains the elements of the offense charged
                         and fairly informs a defendant of the charge against
                         which he must defend, and, second, enables him to
                         plead an acquittal or conviction in bar of future
                         prosecutions for the same offense.

                 Hamling v. United States, 418 U.S. 87 . . . (1974) . . . . An indictment
                 that tracks the wording of the statute under which an offense is charged
                 will meet these constitutional requirements if the language sets forth
                 the essential elements of the crime, . . . and adequately specifies the
                 time, place and participants involved . . . . Furthermore, an indictment
                 for conspiracy need not be as specific as an indictment for a substantive
                 count. United States v. Yonn, 702 F.2d 1341, 1348 (11th Cir. [1983])
                 ....

  United States v. Harrell, 737 F.2d 971, 975 (11th Cir. 1984)(some internal citations omitted).

         The essential elements of a drug conspiracy in violation of 21 U.S.C. § 846 are as follows:

                 First: That two or more persons, in some way or manner,
                        came to a mutual understanding to try to accomplish a
                        common and unlawful plan, as charged in the
                        indictment;




                                                    -2-
Case 6:08-cr-00228-JA-LHP Document 52 Filed 12/11/08 Page 3 of 4 PageID 147




                      Second:             That the Defendant, knowing the
                                          unlawful purpose of the plan, willfully
                                          joined in it; and

                      Third:              That the object of the unlawful plan was to
                                          possess with intent to distribute and to
                                          distribute controlled substances, as charged.

  See Eleventh Circuit Pattern Jury Instructions (Criminal) Instruction 87 (2003). It is not necessary that

  the United States allege overt acts in furtherance of a drug conspiracy in order to survive a motion to

  dismiss. Harrell, 737 F.2d at 975 n.4.

            Taken as a whole, the present Indictment is sufficient. It alleges that Cordero-Gonzalez

  knowingly and willfully joined in a conspiracy to possess with intent to distribute and to distribute

  cocaine hydrocholoride. It alleges the time span of the conspiracy, the geographic location of the

  conspiracy and identifies many alleged co-conspirators. See Yonn, 702 F.2d at 1348.1

            The Defendant also seeks a bill of particulars pursuant to Fed. R. Crim. P. 7(f). “A bill of

  particulars, properly viewed, supplements an indictment by providing the defendant with information

  necessary for trial preparation.” United States v. Anderson, 799 F.2d 1438, 1441 (11th Cir.

  1986)(original emphasis). “[A] defendant is not entitled to a bill of particulars ‘with respect to

  information which is already available through other sources.’” United States v. Martell, 906 F.2d 555,

  558 (11th Cir. 1990)(quoting United States v. Rosenthal, 793 F.2d 1214, 1227 (11th Cir. 1986)).

            The United States represents that it has given the Defendant voluminous discovery related to

  the charged offense. The Defendant has not identified additional information that he contends is


            1
              The Yonn court distinguished the facts before it from the decision of the United States Court of Appeals for the
  Ninth Circuit in United States v. Cecil, 608 F.2d 1294 (9th Cir. 1979), upon which Defendant relies in this case. I note that
  the Cecil case is not binding authority in this Court, nor is it persuasive in light of the decisions in the Eleventh Circuit regarding
  sufficiency of indictments.

                                                                   -3-
Case 6:08-cr-00228-JA-LHP Document 52 Filed 12/11/08 Page 4 of 4 PageID 148




  necessary for trial preparation. Therefore, the request for a bill of particulars is also not availing. See

  Rosenthal, 7923 F.2d at 1227.

          Failure to file written objections to the proposed findings and recommendations contained in

  this report within ten (10) days from the date of its filing shall bar an aggrieved party from attacking

  the factual findings on appeal.

          Respectfully recommended in Orlando, Florida on this 11th day of December, 2008.




                                                                      Karla R. Spaulding
                                                                  KARLA R. SPAULDING
                                                            UNITED STATES MAGISTRATE JUDGE

  Copies furnished to:

  Presiding District Judge
  Counsel of Record
  Unrepresented Parties
  Courtroom Deputy




                                                     -4-
